       Case: 1:11-cv-07934 Document #: 44 Filed: 01/04/12 Page 1 of 3 PageID #:178

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     1/4/2                     UNITED STATES DISTRICT COURT
   THOMAS G       . BRUTON   T
     , U .S . D IS TRICT COUR NORTHERN DISTRICT OF ILLINOIS
CLERK                                   EASTERN DIVISION

    M.G.S., an adjudicated adult ward under  )
    court appointed guardianship, by Next-   )
    Friends,                                 )
                                             )
                   Plaintiff,                ) Case No.      11-cv-7934
                                             )
           v.                                ) Honorable Judge Guzman
                                             ) Magistrate Judge Gilbert
    CAROLYN TOERPE, Court-Appointed          )
    Guardian, et al.                         )
                                             )
                   Defendants.               )
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moves to dismiss Plaintiff’s Amended Complaint pursuant to Rule

   12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure, stating as follows:

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                                                 Respectfully submitted,



                                                 /s/ Deborah M. Beltran
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                                                 Assistant Attorneys General
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                                CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that the foregoing document was filed on
Thursday, December 22, 2011, through the Court’s CM/ECF system. Notice of this filing will
be sent by electronic mail to all counsel of record by operation of the Court’s electronic filing
system. Parties of record may access this filing through the Court’s system. Notice of this filing
has also been sent by first class mail to the following at their addresses of record:

                              Gloria Jean Sykes
                              6016 N. Avondale Ave.
                              Chicago, IL 60631

                              Scott Evans
                              960 Beau Dr. #305
                              Des Plaines, IL 60016

                              Sue Fege
                              922 Willson Dr.
                              Des Plaines, IL 60016


                                                      /s/ Deborah M. Beltran




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